                 Case 2:14-cv-01203-RAJ Document 10 Filed 07/14/14 Page 1 of 2




 1

 2

 3

 4

 5

 6                          UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 7
     UNITED STATES OF AMERICA                            NO. MC 14-0039 RSL
 8
                                   Plaintiff             ORDER GRANTING LEAVE TO
 9          v.                                           INTERVENE

10   MARK F. SPANGLER

11                                 Defendant

12          and

13   KLJ CONSULTING, LLC, Kent L. Johnson
     KLJ Consulting LLC’s Managing Director,
14   General Receiver of THE SPANGLER
     GROUP, INC.,
15                              Garnishee

16          The Court having read the Motion to Intervene of the Spangler Group Inc. Retirement

17   Plan (Dkt. # 7), and being duly advised in its premises, it is now

18          ORDERED that the motion is GRANTED. The Clerk of Court is directed to add

19   Spangler Group, Inc. Retirement Plan as a defendant in the above-captioned matter for the

20   limited purpose of allowing the Retirement Plan to assert that some or all of the liquidated assets

21   currently in the possession of the Receiver should be distributed to the Retirement Plan.

22




     ORDER GRANTING LEAVE TO INTERVENE— 1
           Case 2:14-cv-01203-RAJ Document 10 Filed 07/14/14 Page 2 of 2




 1
               Dated this 14th day of July, 2014.
 2

 3                                        A
                                          Robert S. Lasnik
 4
                                          United States District Judge
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22




     ORDER GRANTING LEAVE TO INTERVENE— 2
